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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 In re:                                      §
                                             §
 HIGHLAND CAPITAL                            §    Chapter 11
 MANAGEMENT, L.P.                            §
                                             §    Case No. 19-34054-sgj11
          Debtor.                            §

HUNTER MOUNTAIN INVESTMENT TRUST’S WITNESS AND EXHIBIT LIST IN
   CONNECTION WITH ITS EMERGENCY MOTION FOR LEAVE TO FILE
       VERIFIED ADVERSARY PROCEEDING, AND SUPPLEMENT

          Hunter Mountain Investment Trust (“HMIT”), Movant, files this Witness and

Exhibit List for the hearing to consider HMIT’s Emergency Motion for Leave to File Verified

Adversary Proceeding [Doc. 3699] and Supplement to Emergency Motion for Leave to File

Verified Adversary Proceeding [Doc. 3760] (together the “Motion for Leave”), which is




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currently set for June 8, 2023 at 9:30 a.m. (Central Time) (the “Motion for Leave Hearing.).1

        HMIT reserves the right to amend or supplement this witness list and exhibit list

to add or withdraw witnesses or exhibits.

I.      Witnesses

     1. James P. Seery, Jr. as an Adverse Party;

     2. James Dondero;

     3. Mark Patrick;

     4. Scott Van Meter (Expert Witness). Mr. Van Meter may provide opinion testimony
        on issues relating to Mr. Seery’s compensation and claims trading. A copy of his
        CV is produced as part of the Exhibit List. Based upon his education, experience,
        and training, and his review of documents, Mr. Van Meter has formed several
        opinions in this matter.




1
  This Witness and Exhibit List is filed subject to and without waiving and of HMIT’s substantive and
procedural rights including, but not limited to, HMIT’s objections to the evidentiary format of the Motion
for Leave Hearing, including as ordered by the Court’s May 22, 2023, Order Pertaining to the Hearing on
Hunter Mountain Investment Trust’s Motion for Leave to File Adversary Proceeding [DE ## 3699 & 3760]
(Doc. 3787) ("May 22 Order"). HMIT’s prior objections to an evidentiary hearing on “colorability,” and
applying an evidentiary burden of proof to HMIT’s Motion for Leave, were asserted by HMIT during the
April 24, 2023, Status Conference, and were further set forth in HMIT’S Reply Brief in Support of its Motion
for Leave (Doc. 3785) and during the May 26, 2023, hearing regarding Hunter Mountain Investment Trust’s
Emergency Motion for Expedited Discovery or, Alternatively, for Continuance of the June 8, 2023 Hearing
(Doc 3788), all of which objections are incorporated herein for all purposes (“HMIT’s Evidentiary Hearing
Objections”).

Subject to and without waiving HMIT’s Evidentiary Hearing Objections, and based on the Court’s rulings
relating to the evidentiary format for the Motion for Leave Hearing, HMIT also files this instrument subject
to and without waiving HMIT’s procedural and substantive rights relating to HMIT’s efforts to take
discovery in advance of the Motion for Leave Hearing including, but not limited to, the discovery HMIT
requested in Hunter Mountain Investment Trust’s Emergency Motion for Expedited Discovery or,
Alternatively, for Continuance of June 8, 2023 Hearing (Doc. 3791) to the extent it was denied in the Court’s
May 26, 2023, Order Regarding Hunter Mountain Investment Trust’s Emergency Motion for Expedited
Discovery or, Alternatively, for Continuance of the June 8, 2023 Hearing [Dkt. Nos. 3788 and 3791]
(Doc.3800).


                                                     [2]
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     Mr. Van Meter has analyzed the claims traded in the bankruptcy case and holds
     the opinion that, at a minimum, there are several red flags plausibly indicating the
     use of Material Non-Public Information (“MNPI”) in connection with the Claims
     Purchasers’ investment in the claims at issue.

     Mr. Van Meter also holds the opinion that investments in the claims at issue would
     have normally required substantial due diligence which was not undertaken,
     another red flag, plausibly indicating the Claims Purchasers’ use of MNPI in
     connection with their investment in the claims at issue.

     His analysis also identified red flags plausibly indicating that the Claims
     Purchasers’ acted in concert to acquire certain of the claims at issue.

     Mr. Seery’s incentive-based compensation was not based upon any market study,
     which is another red flag indicating that it was not reasonable and is excessive.
     Mr. Van Meter also holds the opinion that Mr. Seery’s compensation is clearly
     excessive if the Claims Purchasers, who later controlled the Claimant Trust, had
     access to information eliminating or reducing uncertainty and risk associated with
     the performance targets ultimately set forth in the Incentive Compensation Plan
     (“ICP”).

     Mr. Van Meter will also review Mr. Seery’s deposition testimony and the
     testimony given by all the witnesses at the hearing on this matter and may offer
     further opinions in response to that testimony.

     Mr. Van Meter’s contact information is B. Riley Advisory Services, 4400 Post Oak
     Parkway, Suite 1400, Houston, Texas 77027, (713) 858-3225;

  5. Steve Pully (Expert Witness). Mr. Pully may provide opinion testimony on issues
     relating to Mr. Seery’s claims trading.

     Mr. Pully has over 37 years of experience as a hedge fund executive, investment
     banker, attorney, corporate board member and as an expert consultant. He holds
     a JD Degree as well as a degree in accounting. He is a Chartered Financial Analyst,
     a licensed CPA and an attorney licensed in the State of Texas. He also holds
     various FINRA security licenses. His CV is produced as an exhibit identified on
     the Exhibit List.

     Mr. Pully holds various opinions based upon the materials he has reviewed, as
     well as his education, experience and training, including: (i) the publicly available


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           projections concerning payout on the claims at issue would not have rewarded the
           Claims Purchasers with the types of economic returns they would normally hope
           to realize for a similar type investment; (ii) based on the pessimistic public
           projections, there is a strong likelihood that inappropriate information was
           provided to the Claims Purchasers in making their investment decisions; (iii)
           credit oriented funds, like Farallon and Stonehill, have strong investment
           requirements and typically perform extensive due diligence and analysis before
           committing to investments; (iv) it is implausible that an investment decision could
           have been made by Farallon and Stonehill to acquire the claims at issue for as
           much as they invested based upon the publicly available information and
           apparent lack of due diligence; (v) the publicly projected estimates concerning
           likely returns on the claims at issue did not justify the magnitude of the Claims
           Purchasers’ investment.

           Mr. Pully will also review Mr. Seery’s deposition testimony and the testimony
           given by all the witnesses at the hearing on this matter and may offer further
           opinions in response to that testimony.

           Mr. Pully’s contact information is 4564 Meadowood, Dallas, Texas 75220, (214)
           587-6133.

      6. Any adverse party who is present in the Courtroom including, without limitation,
         Michael Linn and Raj Patel;

      7. Any witnesses listed or called by any other party; and

      8. Any witnesses necessary for impeachment and/or rebuttal.

II.        Exhibits

       #                          DESCRIPTION                         OFFR      OBJ     ADM

        1.     Exhibit 1 – Adversary Complaint


               Exhibit 1a – Revised Adversary Complaint
        2.
               attached to Supplemental Motion




                                               [4]
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      #                            DESCRIPTION                                OFFR       OBJ       ADM

             [Doc. 3784-12] December 17, 2020, Email from
       3.
             James Dondero to James Seery re: MGM


       4.    James Dondero Handwritten Notes – May 2021


       5.    Compliance Logs [Confidential] 2


             [Doc. 3784-36] - News Article – May 26, 2021 –
       6.
             Announcing MGM Deal


             [Doc. 1943] Order (I) Confirming Fifth Amended
             Plan of Reorganization of Highland Capital
       7.
             Management, L.P. (as Modified) and (II) Granting
             Related Relief


             [Doc. 1875] Debtor’s Notice of Filing of Plan
             Supplement to the Fifth Amended Plan of
       8.    Reorganization (Amended Liquidation
             Analysis/Financial Projections Dated February 1,
             2021 [Doc. 1875-1])


             [Doc. 2030] January 2021 Monthly Operating
       9.
             Report, filed March 15, 2021


       10.   [Doc. 2949] Q3 2021 Post-Confirmation Report




2This Exhibit has been designated “Confidential” pursuant to the Agreed Protective Order [Doc. 382] and is
being served on all Parties to these immediate proceedings. This Confidential exhibit is not being filed
immediately with this Exhibit List, however, it will be provided via hard copy.


                                                   [5]
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    #                        DESCRIPTION                         OFFR   OBJ   ADM

          [Doc. 2229] Debtor’s Motion for Entry of an Order
          (I) Authorizing the Debtor to (A) Enter Into Exit
          Financing Agreement in Aid of Confirmed
    11.
          Chapter 11 Plan and (B) Incur and Pay Related
          Fees and Expenses, and (II) Granting Related
          Relief, filed 4/20/21


          [Doc. 3409] Q2 2022 Post-Confirmation Report
    12.
          (Reorganized Debtor)


          [Doc. 3583] Q3 2022 Post-Confirmation Report
    13.
          (Claimant Trust)


          [Doc. 3757] Q1 2023 Post-Confirmation Report
    14.
          (Claimant Trust)


          [Doc. 0064] Notice of Appointment of Committee
    15.
          of Unsecured Creditors


    16.   CV of James P. Seery, Jr.


          June 2, 2023 Transcript of James P. Seery, Jr.’s
    17.
          Deposition


          January 29, 2021 Transcript of James P. Seery, Jr.’s
    18.
          Deposition


          Excerpts of January 29, 2021 Transcript of James P.
    19.
          Seery, Jr’s Deposition


          Excerpts of February 3, 2021 Hearing Transcript of
    20.
          James P. Seery, Jr.’s Testimony




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    #                       DESCRIPTION                         OFFR   OBJ   ADM

          Excerpts of January 20, 2021 Transcript of James P.
    21.
          Seery, Jr.’s Deposition


          Excerpts of October 17, 2020 Transcript of James P.
    22.
          Seery, Jr.’s Deposition


    23.   [Doc. 3784-44] Assignment Agreement


          John Morris Email re: Text Messages, dated
    24.
          February 16, 2023


          John Morris Email re: Text Messages, dated March
    25.
          10, 2023


    26.   Doc. 3521-5 – Claimant Trust Agreement


          [Doc. 1811-3] Redlined Draft of Claimant Trust
          Agreement, attached to Debtor’s Notice of Filing
   26a.   of Plan Supplement to the Fifth Amended Plan of
          Reorganization of Highland Capital Management,
          L.P. (with Technical Modifications) [Doc. 1811]


          [Doc. 2801] Notice of Appointment of Members of
    27.   the Oversight Board of the Highland Claimant
          Trust


          [Doc. 3784-43] Memorandum of Agreement –
    28.
          Compensation


          [Doc. 3784-41] Redacted Minutes – Oversight
    29.
          Board, dated August 26, 2021




                                         [7]
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    #                       DESCRIPTION                        OFFR   OBJ   ADM

          [Doc. 3784-42] Redacted Minutes – Oversight
    30.
          Board


          [Doc. 2211] Notice of Transfer of Claim other than
    31.
          for Security (Acis/ACMLP), dated August 30, 2021


          [Doc. 2212] Notice of Transfer of Claim Other than
    32.
          Security (Acis/ACMLP)


          [Doc. 2215] Notice of Transfer of Claim other than
    33.
          Security (Acis/Muck)


          [Doc. 2261] Notice of Transfer of Claim other than
    34.
          Security (Redeemer/Jessup)


          [Doc. 2262] Notice of Transfer of Claim other than
    35.
          Security (Crusader/Jessup)


          [Doc. 2263] Notice of Transfer of Claim other than
    36.
          Security (HarbourVest/Muck)


          [Doc. 2697] Notice of Transfer of Claim other than
    37.
          Security (UBS/Jessup)


          [Doc. 2698] Notice of Transfer of Claim other Than
    38.
          Security (UBS/Muck)


    39.   Expert CV for Scott Van Meter


    40.   Materials Reviewed by Scott Van Meter




                                          [8]
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          Data Chart Prepared by S. Van Meter – Notice of
    41.
          Transfers


          Data Chart Prepared by S. Van Meter – Analysis of
    42.
          Claim Amount Transferred by Month


          Data Chart Prepared by S. Van Meter – Analysis of
    43.
          Expected Returns


          Data Chart Prepared by S. Van Meter – Analysis of
    44.
          Cumulative Distributions


          Data Chart Prepared by S. Van Meter – Analysis of
    45.
          Estimated Trustee Compensation


    46.   Expert CV for Steve Pully


    47.   Materials Reviewed by Steve Pully


          Chart Prepared by S. Pully – Estimated Recovery
    48.   of Class 8 and Class 9 Claims Based on Public
          Information


          Chart Prepared by S. Pully – Amount Paid by
    49.   Farallon and Stonehill for Class 8 and Class 9
          Claims


          Chart Prepared by S. Pully – Recoveries on Class 8
    50.
          and 9 Claims


          Chart Prepared by S. Pully – Calculation of
    51.
          Returns to Farallon and Stonehill



                                         [9]
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    52.   Chart Prepared by S. Pully – IRR Calculations


          [Doc. 1894] Transcript of Proceedings
    53.   (Confirmation Hearing) – February 2-3, 2021 –
          Volume 1 of 2


          [Doc. 1905] Transcript of Proceedings
    54.   (Confirmation Hearing) – February 2-3, 2021 –
          Volume 2 of 2


          [Doc. 1866-5] Amended Liquidation
    55.   Analysis/Financial Projections, dated January 28,
          2021


    56.   HCM Form ADV, Part 1, March 31, 2023


    57.   HCM Form ADV Part 1, April 25, 2023


          [Doc. 3778] Complaint to (I) Compel Disclosures
          About the Assets of the Highland Claimant Trust
    58.   and (II) Determine (A) Relative Value of Those
          Assets, and (B) Nature of Plaintiffs’ Interests in the
          Claimant Trust


          Doug Draper Letter to US Trustee's Office with
    59.
          Exhibits, dated October 5, 2021


          Davor Rukavina Letter to US Trustee's Office with
    60.
          Exhibits, dated November 3, 2021


          Davor Rukavina Letter to US Trustee's Office with
    61.
          Exhibits, dated May 11, 2022




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          Declaration of Sawnie McEntire with All Exhibits,
    62.
          dated March 27, 2023


          Asset Chart – HCMLP Assets to be Monetized;
    63.   HCMLP Monetization & Management Fees (est.);
          Cash Roll;


          Certificate of Formation of Muck Holdings, LLC.
    64.
          filed March 9, 2021


          Certificate of Formation of Jessup Holdings LLC,
    65.
          filed April 8, 2021


          Declaration of Mark Patrick with All Exhibits,
    66.
          dated February 14, 2023


          Letter from Alvarez & Marsal to Highland
    67.
          Crusader Funds Stakeholders, dated July 6, 2021


          [Doc. 1788] Order Approving Debtor’s Settlement
          with HarbourVest (Claim Nos. 143, 147, 149, 150,
    68.
          153, 154) and Authorizing Actions Consistent
          Therewith


          [Doc. 2389] Order Approving Debtor’s Settlement
          with UBS Securities LLC and UBS AG London
    69.
          Branch and Authorizing Actions Consistent
          Therewith


          Sub-Advisory Agreement between NexPoint
          Advisors, L.P., and Highland Capital
    70.
          Management, L.P. (dated effective as of January 1,
          2018)



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          Amended and Restated Shared Services
    71.
          Agreement between


    72.   Articles Concerning MGM


          [Doc. 3662] – Motion for Leave to File Proceeding,
    73.   Together with All Exhibits Thereto, filed February
          6, 2023


          [Doc. 2537] Motion of Debtor for Entry of an Order
          (I) Authorizing the Sale and/or Forfeiture of
    74.
          Certain Limited Partnership Interests and Other
          Rights and (II) Granting Related Relief


          [Doc. 2687] Order Approving Motion of the Debtor
    75.   for Entry of an Order (I) Authorizing the Sale of
          Property and (II) Granting Related Relief


          Statement of Interested Party in Response to
          Motion of Nexpoint Strategic Opportunities Fund
          to Confirm Discharge or Plan Injunction Does Not
    76.
          Bar Lawsuit, or alternatively, for Relief from all
          Applicable Injunctions (Doc. 1235, In re: ACIS
          Capital Management, Cause No. 18-30264-sgj11).


          Doc. 3756 – Post-confirmation Report
    77.
          (Reorganized Debtor)


          Excerpts of October 20, 2021 Transcript of James P.
    78.
          Seery, Jr. Deposition


    79.   Case Study – Large Loan Origination




                                         [12]
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             Excerpt from Pleading filed in the United States
             Bankruptcy Court of the Southern District of New
      80.
             York, Case No. 10-14997, In re: Blockbuster Inc., et
             al.


             Any document entered or filed into the
      81.
             Bankruptcy Case, including any exhibits thereto


             All exhibits necessary for impeachment and/or
      82.
             rebuttal


             All exhibits identified or offered by any other
      83.
             party at the hearing


         HMIT reserves the right to amend and/or supplement this Exhibit List, including

the removal of any exhibit. HMIT also reserves the right to use any exhibit offered by any

other party to these proceedings and any document for purely impeachment purposes.

HMIT also reserves and does not waive the right to object to any exhibit (or any portion

thereof) that may be identified on this Exhibit List to the extent offered by another Party.




                                             [13]
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                                              Respectfully Submitted,

                                              PARSONS MCENTIRE MCCLEARY
                                              PLLC

                                              By: /s/ Sawnie A. McEntire
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                                                   Telephone: (713) 960-7315
                                                   Facsimile: (713) 960-7347

                                                   Attorneys for Hunter Mountain
                                                   Investment Trust


                              CERTIFICATE OF SERVICE

       I certify that on the 5th day of June 2023, a true and correct copy of the foregoing
Motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                              /s/ Sawnie A. McEntire
                                              Sawnie A. McEntire




                                           [14]
